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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                )
                                         )
      V.                                 )    CRIMINAL NO. 1:22cr15-APM
                                         )
                                         )
BRIAN ULRICH,                            )
                                         )
      Defendant.                         )


               MOTION FOR ATTORNEY LEAVE OF ABSENCE

      COMES NOW A. J. BALBO, counsel of record for Defendant Brian Ulrich, who

respectfully requests that this Honorable Court grant a leave of absence in the above-

styled case, which is currently pending in the United States District Court for the

District of Columbia. The requested periods of leave are as follows:

      May 27 – June 6, 2022 – Family Vacation

      November 21-25, 2022 – Thanksgiving


                                       Respectfully submitted,

                                       BALBO & GREGG
                                       ATTORNEYS AT LAW, P.C.


                                       /s A. J. Balbo
                                       A. J. Balbo, Esq.
                                       Georgia Bar No.142606

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                           CERTIFICATE OF SERVICE


      This is to certify that I have this day served all the parties in this case in

accordance with the directives of the Court Notice of Electronic Filing (“NEF”),

which was generated as a result of electronic filing.


      Submitted this 27th day of May, 2022.

                                        Respectfully submitted,
                                        BALBO & GREGG
                                        ATTORNEYS AT LAW, P.C.


                                        /s A. J. Balbo
                                        A. J. Balbo, Esq.
                                        Georgia Bar No.142606

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